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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA

        IN RE:            EUGENE BARON SCHWING, JR.                     CASE NO. 18-13335

                          DEBTOR                                        CHAPTER 13

                                                                        SECTION B


                    MOTION FOR AUTHORITY TO USE STATE TAX REFUND
                             TO OFFSET FEDERAL TAX DEBT


              NOW INTO COURT, appearing through undersigned counsel comes Eugene Baron

   Schwing, Jr., (“Debtor”) in the above entitled and numbered action who respectfully represents that:

                                                    1.

             On December 14, 2018, Debtor filed a voluntary petition for relief under Title 11,

   Chapter 13 of the Bankruptcy Code. 3. On March 25, 2019 this Court confirmed Debtor’s plan of

   reorganization. Debtor is currently in month 18 of a 60 month plan. Debtor is current with all

   plan payments.

                                                    2.

          Debtor has received a state tax refund for 2019 in the amount of $738.00. This amount

   has been forwarded to the Chapter 13 Trustee as it is considered disposable income. At the same

   time Debtor owes federal tax for 2019 in the amount of $1,542.00.

                                                    6.

          As Debtor owes money to the IRS for 2019 Debtor believes that the state tax refund

   should not be considered disposable income as he owes money to the IRS. Debtor requests that

   he be allowed to use the state refund to offset the federal tax debt. As such Debtor requests that

   that the state tax refund be returned to him so that he may use the state refund to pay towards the

   federal debt.
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          WHEREFORE, Debtor prays that this matter be set for hearing, and after all due

   proceedings be had, that the debtor be granted to permission to use his state tax refund to offset

   his federal tax debt and for such other relief as is just and equitable.

                                                          RESPECTFULLY SUBMITTED:

                                                          /s/ Steven J. Hunter
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